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Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF KENTUCKY

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7

                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Jody
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        D
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Lashley
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)



2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names and any
     assumed, trade names and
     doing business as names.
                              DBA Poor Boys Outdoor Lawn Care
                                   DBA Jody Lashley Custom Docks & Boat Lifts
     Do NOT list the name of
     any separate legal entity
     such as a corporation,
     partnership, or LLC that is
     not filing this petition.


3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-2198
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Jody D Lashley                                                                            Case number (if known)



                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

     Your Employer
4.
     Identification Number
     (EIN), if any.
                                 EIN                                                           EIN



5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 1091 Moutardier Road
                                 Leitchfield, KY 42754
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Edmonson
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any               have lived in this district longer than in any other
                                       other district.                                                district.

                                       I have another reason.                                         I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 2
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Debtor 1    Jody D Lashley                                                                                Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7

                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Jody D Lashley                                                                                 Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?

                                      Yes.     Name and location of business

     A sole proprietorship is a
     business you operate as                   See Attachment
     an individual, and is not a               Name of business, if any
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach                 Number, Street, City, State & ZIP Code
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as          § 1116(1)(B).
    defined by 11 U.S. C. §            No.        I am not filing under Chapter 11.
    1182(1)?
    For a definition of small         No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
    business debtor, see 11                    Code.
    U.S.C. § 101(51D).

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I do not choose to proceed under Subchapter V of Chapter 11.

                                      Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                               choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




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Debtor 1    Jody D Lashley                                                                             Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Jody D Lashley                                                                                Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    be worth?                                                                        $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Jody D Lashley
                                 Jody D Lashley                                                    Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     September 29, 2023                                Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




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Debtor 1   Jody D Lashley                                                                                 Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Tyler R. Yeager                                                Date         September 29, 2023
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Tyler R. Yeager 92722
                                Printed name

                                Kaplan Johnson Abate & Bird LLP
                                Firm name

                                710 West Main Street
                                Fourth Floor
                                Louisville, KY 40202
                                Number, Street, City, State & ZIP Code

                                Contact phone     (502) 416-1630                             Email address         tyeager@kaplanjohnsonlaw.com
                                92722 KY
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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Debtor 1         Jody D Lashley                                                                     Case number (if known)


Fill in this information to identify your case:

Debtor 1                 Jody D Lashley
                         First Name               Middle Name                Last Name

Debtor 2
(Spouse if, filing)      First Name               Middle Name                Last Name


United States Bankruptcy Court for the:    WESTERN DISTRICT OF KENTUCKY

Case number
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing


                                                  FORM 101. VOLUNTARY PETITION ATTACHMENT

                                                                Additional Sole Proprietorship(s)



Poor Boys Outdoor Lawn Care
Name of business, if any

1091 Moutardier Road
Leitchfield, KY 42754
Number, Street, City, State & ZIP Code

Check the appropriate box to describe your business:
         Health Care Business (as defined in 11 U.S.C. § 101(27A))
         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
         Stockbroker (as defined in 11 U.S.C. § 101(53A))
         Commodity Broker (as defined in 11 U.S.C. § 101(6))

         None of the above


Jody Lashley's Custom Docks & Boat Lifts
Name of business, if any

1091 Moutardier Road
Leitchfield, KY 42754
Number, Street, City, State & ZIP Code

Check the appropriate box to describe your business:
         Health Care Business (as defined in 11 U.S.C. § 101(27A))
         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
         Stockbroker (as defined in 11 U.S.C. § 101(53A))
         Commodity Broker (as defined in 11 U.S.C. § 101(6))

         None of the above




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                             page 8
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                                                Certificate Number: 15725-KYW-CC-037797155


                                                                  15725-KYW-CC-037797155




                    CERTIFICATE OF COUNSELING

I CERTIFY that on September 26, 2023, at 1:12 o'clock PM EDT, Jody Lashley
received from 001 Debtorcc, Inc., an agency approved pursuant to 11 U.S.C. 111
to provide credit counseling in the Western District of Kentucky, an individual [or
group] briefing that complied with the provisions of 11 U.S.C. 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   September 26, 2023                      By:      /s/Daniel Alfredo Medina Mujica


                                                Name: Daniel Alfredo Medina Mujica


                                                Title:   Issuer




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
This notice is for you if:
                                                                                                  $245      filing fee
       You are an individual filing for bankruptcy,
       and                                                                                         $78   administrative fee

       Your debts are primarily consumer debts.                                           +        $15   trustee surcharge
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                                                     $338      total fee
       primarily for a personal, family, or
       household purpose.”                                                                Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
The types of bankruptcy that are available to                                             property to be used to pay their creditors. The
individuals                                                                               primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                    relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                        many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
       Chapter 7 - Liquidation                                                            be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
       Chapter 11 - Reorganization                                                        repossess an automobile.

       Chapter 12 - Voluntary repayment plan                                              However, if the court finds that you have committed
                  for family farmers or                                                   certain kinds of improper conduct described in the
                  fishermen                                                               Bankruptcy Code, the court may deny your
                                                                                          discharge.
       Chapter 13 - Voluntary repayment plan
                  for individuals with regular                                            You should know that even if you file chapter 7 and
                  income                                                                  you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                             most taxes;
chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                   page 1
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       most fines, penalties, forfeitures, and criminal                                   your income is more than the median income for your
       restitution obligations; and                                                       state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
       certain debts that are not listed in your bankruptcy                               administrator, or creditors can file a motion to dismiss
       papers.                                                                            your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
       fraud or theft;                                                                    Code.

       fraud or defalcation while acting in breach of                                     If you are an individual filing for chapter 7 bankruptcy,
       fiduciary capacity;                                                                the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
       intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
       death or personal injury caused by operating a                                     bankruptcy trustee sells or liquidates that you are
       motor vehicle, vessel, or aircraft while intoxicated                               entitled to, is called exempt property. Exemptions may
       from alcohol or drugs.                                                             enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                     the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                        Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                                         you must list it on Schedule C: The Property You Claim
Monthly Income (Official Form 122A–1) if you are an                                       as Exempt (Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                       proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A–2).
                                                                                                      $1,167    filing fee
If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test                                            +           $571    administrative fee
Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738    total fee
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2
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       Read These Important Warnings

           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file.
           Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
           and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
           properly and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that
           many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
           or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
           following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
Chapter 12: Repayment plan for family                                                     to repay your creditors all or part of the money that
            farmers or fishermen                                                          you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                 $200     filing fee                                                      years or 5 years, depending on your income and other
+                 $78     administrative fee                                              factors.
                 $278     total fee
                                                                                          After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                  not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                    pay include:
are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
Chapter 13: Repayment plan for
            individuals with regular                                                             certain taxes,
            income
                                                                                                 debts for fraud or theft,

                 $235     filing fee                                                             debts for fraud or defalcation while acting in a
+                 $78     administrative fee                                                     fiduciary capacity,
                 $313     total fee
                                                                                                 most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                              certain debts that are not listed in your
installments over a period of time and to discharge                                              bankruptcy papers,
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain                                          certain debts for acts that caused death or
dollar amounts set forth in 11 U.S.C. § 109.                                                     personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 3
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                                                                                          A married couple may file a bankruptcy case
             Warning: File Your Forms on Time                                             together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                    bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
general financial condition. The court may dismiss your                                   each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                             Understand which services you could receive from
Bankruptcy Rules, and the local rules of the court.                                       credit counseling agencies

For more information about the documents and                                              The law generally requires that you receive a credit
their deadlines, go to:                                                                   counseling briefing from an approved credit counseling
http://www.uscourts.gov/forms/bankruptcy-forms                                            agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
Bankruptcy crimes have serious consequences                                               days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
       If you knowingly and fraudulently conceal assets                                   Internet.
       or make a false oath or statement under penalty
       of perjury—either orally or in writing—in                                          In addition, after filing a bankruptcy case, you generally
       connection with a bankruptcy case, you may be                                      must complete a financial management instructional
       fined, imprisoned, or both.                                                        course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
       All information you supply in connection with a                                    course.
       bankruptcy case is subject to examination by the
       Attorney General acting through the Office of the                                  You can obtain the list of agencies approved to provide
       U.S. Trustee, the Office of the U.S. Attorney, and                                 both the briefing and the instructional course from:
       other offices and employees of the U.S.                                            http://www.uscourts.gov/services-forms/bankruptcy/cre
       Department of Justice.                                                             dit-counseling-and-debtor-education-courses.

Make sure the court has your mailing address                                              In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
The bankruptcy court sends notices to the mailing                                         dit-counseling-and-debtor-education-courses.
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure                                      If you do not have access to a computer, the clerk of
that you receive information about your case,                                             the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                   the list.
of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 4
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 Fill in this information to identify your case:

 Debtor 1                     Jody D Lashley
                              First Name                 Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)          First Name                 Middle Name                      Last Name


 United States Bankruptcy Court for the:           WESTERN DISTRICT OF KENTUCKY

 Case number
 (if known)                                                                                                                                    Check if this is an
                                                                                                                                               amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                          12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                              Unsecured claim
 1                                                             What is the nature of the claim?                                                 $52,764.80
              All Shore Capital
              111 John Street                                  As of the date you file, the claim is: Check all that apply
              New York, NY 10005                                       Contingent
                                                                       Unliquidated
                                                                       Disputed
                                                                       None of the above apply

                                                               Does the creditor have a lien on your property?

                                                                         No
              Contact                                                    Yes. Total claim (secured and unsecured)
                                                                               Value of security:                                    -
              Contact phone                                                    Unsecured claim


 2                                                             What is the nature of the claim?                  Purchases on credit            $3,144.48
              Arba International LLC
              2517 152nd Ave NE                                As of the date you file, the claim is: Check all that apply
              Redmond, WA 98052                                        Contingent
                                                                       Unliquidated
                                                                       Disputed
                                                                       None of the above apply

                                                               Does the creditor have a lien on your property?

                                                                         No
              Contact                                                    Yes. Total claim (secured and unsecured)
                                                                               Value of security:                                    -


B104 (Official Form 104)                       For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 1
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 Debtor 1          Jody D Lashley                                                      Case number (if known)

            Contact phone                                             Unsecured claim


 3                                                  What is the nature of the claim?                  Purchases on account           $10,966.47
            Bee Spring Lumber & Supply
            LLC                                     As of the date you file, the claim is: Check all that apply
            10403 Highway 259 North                         Contingent
            Bee Spring, KY 42207                            Unliquidated
                                                            Disputed
                                                            None of the above apply

                                                    Does the creditor have a lien on your property?

                                                              No
            Contact                                           Yes. Total claim (secured and unsecured)
                                                                    Value of security:                                    -
            Contact phone                                           Unsecured claim


 4                                                  What is the nature of the claim?                                                 $8,109.00
            Jeff Biggs
            2204 Woodbourne Ave.                    As of the date you file, the claim is: Check all that apply
            Louisville, KY 40205                            Contingent
                                                            Unliquidated
                                                            Disputed
                                                            None of the above apply

                                                    Does the creditor have a lien on your property?

                                                              No
            Contact                                           Yes. Total claim (secured and unsecured)
                                                                    Value of security:                                    -
            Contact phone                                           Unsecured claim


 5                                                  What is the nature of the claim?                  Business Loan                  $87,635.36
                                                                                                      Agreement
            Bill Me Later, Inc
            as serving agent for WebBank            As of the date you file, the claim is: Check all that apply
            2211 North First Street                         Contingent
            San Jose, CA 95131                              Unliquidated
                                                            Disputed
                                                            None of the above apply

                                                    Does the creditor have a lien on your property?

                                                              No
            Contact                                           Yes. Total claim (secured and unsecured)
                                                                    Value of security:                                    -
            Contact phone                                           Unsecured claim


 6                                                  What is the nature of the claim?                  Guaranty of Sale of            $22,485.00
                                                                                                      Future Receipts
                                                                                                      Agreement
            Capital Assist, LLC
            111 Great Knock Road                    As of the date you file, the claim is: Check all that apply
            Suite 300                                       Contingent
            Great Neck, NY 11021                            Unliquidated


B 104 (Official Form 104)           For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                   Page 2
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 Debtor 1          Jody D Lashley                                                       Case number (if known)

                                                               Disputed
                                                               None of the above apply

                                                     Does the creditor have a lien on your property?

                                                               No
            Contact                                            Yes. Total claim (secured and unsecured)
                                                                     Value of security:                                    -
            Contact phone                                            Unsecured claim


 7                                                   What is the nature of the claim?                  Cabela's credit card           $3,142.44
                                                                                                       purchases
            Capital One, N.A.
            PO Box 30285                             As of the date you file, the claim is: Check all that apply
            Salt Lake City, UT 84130-0285                    Contingent
                                                             Unliquidated
                                                             Disputed
                                                             None of the above apply

                                                     Does the creditor have a lien on your property?

                                                               No
            Contact                                            Yes. Total claim (secured and unsecured)
                                                                     Value of security:                                    -
            Contact phone                                            Unsecured claim


 8                                                   What is the nature of the claim?                  Revenue Purchase               $72,500.00
                                                                                                       Agreement
            Capytal.com
            c/o NewCo. Capital Group VI LLC          As of the date you file, the claim is: Check all that apply
            90 Broad, Suite 903                              Contingent
            New York, NY 10004                               Unliquidated
                                                             Disputed
                                                             None of the above apply

                                                     Does the creditor have a lien on your property?

                                                               No
            Contact                                            Yes. Total claim (secured and unsecured)
                                                                     Value of security:                                    -
            Contact phone                                            Unsecured claim


 9                                                   What is the nature of the claim?                                                 $62,000.00
            CFG Merchant Solutions
            180 Maiden Lane, Suite 1502              As of the date you file, the claim is: Check all that apply
            New York, NY 10038                               Contingent
                                                             Unliquidated
                                                             Disputed
                                                             None of the above apply

                                                     Does the creditor have a lien on your property?

                                                               No
            Contact                                            Yes. Total claim (secured and unsecured)
                                                                     Value of security:                                    -
            Contact phone                                            Unsecured claim


B 104 (Official Form 104)            For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                   Page 3
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 Debtor 1          Jody D Lashley                                                      Case number (if known)




 10                                                 What is the nature of the claim?                  Deposit for dock               $3,800.00
                                                                                                      project
            Darrell L Green
            2547 Kensington Way                     As of the date you file, the claim is: Check all that apply
            Elizabethtown, KY 42701-6830                    Contingent
                                                            Unliquidated
                                                            Disputed
                                                            None of the above apply

                                                    Does the creditor have a lien on your property?

                                                              No
            Contact                                           Yes. Total claim (secured and unsecured)
                                                                    Value of security:                                    -
            Contact phone                                           Unsecured claim


 11                                                 What is the nature of the claim?                  Secured Merchant               $37,000.00
                                                                                                      Agreement
            Grid Market, LLC
            dba Grid Funding                        As of the date you file, the claim is: Check all that apply
            667 NE 105th St                                 Contingent
            Miami, FL 33138                                 Unliquidated
                                                            Disputed
                                                            None of the above apply

                                                    Does the creditor have a lien on your property?

                                                              No
            Contact                                           Yes. Total claim (secured and unsecured)
                                                                    Value of security:                                    -
            Contact phone                                           Unsecured claim


 12                                                 What is the nature of the claim?                  Purchases on account           $37,807.23
            Hart County Building Supply
            10337 Cub Run HWY                       As of the date you file, the claim is: Check all that apply
            Munfordville, KY 42765                          Contingent
                                                            Unliquidated
                                                            Disputed
                                                            None of the above apply

                                                    Does the creditor have a lien on your property?

                                                              No
            Contact                                           Yes. Total claim (secured and unsecured)
                                                                    Value of security:                                    -
            Contact phone                                           Unsecured claim


 13                                                 What is the nature of the claim?                  Purchase and Sale of           $13,800.00
                                                                                                      Future Receipts
            MicroAdvance Funding, LLC
            100 South Juniper Street                As of the date you file, the claim is: Check all that apply
            Third Floor                                     Contingent
            Philadelphia, PA 19107                          Unliquidated
                                                            Disputed


B 104 (Official Form 104)           For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                   Page 4
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 Debtor 1          Jody D Lashley                                                      Case number (if known)

                                                              None of the above apply

                                                    Does the creditor have a lien on your property?

                                                              No
            Contact                                           Yes. Total claim (secured and unsecured)
                                                                    Value of security:                                    -
            Contact phone                                           Unsecured claim


 14                                                 What is the nature of the claim?                  Revenue Purchase               $70,000.00
                                                                                                      Agreement
            NewCo. Capital Group VI LLC
            90 Broad, Suite 903                     As of the date you file, the claim is: Check all that apply
            New York, NY 10004                              Contingent
                                                            Unliquidated
                                                            Disputed
                                                              None of the above apply

                                                    Does the creditor have a lien on your property?

                                                              No
            Contact                                           Yes. Total claim (secured and unsecured)
                                                                    Value of security:                                    -
            Contact phone                                           Unsecured claim


 15                                                 What is the nature of the claim?                  Credit card purchases          $4,100.00
            PayPal Credit
            PO Box 71707                            As of the date you file, the claim is: Check all that apply
            Philadelphia, PA 19176-1707                     Contingent
                                                            Unliquidated
                                                            Disputed
                                                            None of the above apply

                                                    Does the creditor have a lien on your property?

                                                              No
            Contact                                           Yes. Total claim (secured and unsecured)
                                                                    Value of security:                                    -
            Contact phone                                           Unsecured claim


 16                                                 What is the nature of the claim?                  Purchases on account           $6,297.12
            Sun Valley Feed Mill
            597 S. Main Street                      As of the date you file, the claim is: Check all that apply
            PO Box 301                                      Contingent
            Brownsville, KY 42210                           Unliquidated
                                                            Disputed
                                                            None of the above apply

                                                    Does the creditor have a lien on your property?

                                                              No
            Contact                                           Yes. Total claim (secured and unsecured)
                                                                    Value of security:                                    -
            Contact phone                                           Unsecured claim




B 104 (Official Form 104)           For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                   Page 5
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 Debtor 1          Jody D Lashley                                                        Case number (if known)

 17                                                   What is the nature of the claim?                  Venmo credit card                   $11,256.32
                                                                                                        purchases
            Synchrony Bank
            777 Long Ridge Rd                         As of the date you file, the claim is: Check all that apply
            Stamford, CT 06902                                Contingent
                                                              Unliquidated
                                                              Disputed
                                                              None of the above apply

                                                      Does the creditor have a lien on your property?

                                                                No
            Contact                                             Yes. Total claim (secured and unsecured)
                                                                      Value of security:                                    -
            Contact phone                                             Unsecured claim


 18                                                   What is the nature of the claim?                  2009 Triumph                        $6,000.00
                                                                                                        HIN: TRBK0258D909
            Tom Warner
            230 Paradise Dr                           As of the date you file, the claim is: Check all that apply
            Murray, KY 42071                                  Contingent
                                                              Unliquidated
                                                              Disputed
                                                              None of the above apply

                                                      Does the creditor have a lien on your property?

                                                                No
            Contact                                             Yes. Total claim (secured and unsecured)                        $6,000.00
                                                                      Value of security:                                    - $0.00
            Contact phone                                             Unsecured claim                                           $6,000.00


 19                                                   What is the nature of the claim?                  Credit card purchases               $3,326.14
            Tractor Supply Credit Plan
            PO Box 6403                               As of the date you file, the claim is: Check all that apply
            Sioux Falls, SD 57117-6403                        Contingent
                                                              Unliquidated
                                                              Disputed
                                                              None of the above apply

                                                      Does the creditor have a lien on your property?

                                                                No
            Contact                                             Yes. Total claim (secured and unsecured)
                                                                      Value of security:                                    -
            Contact phone                                             Unsecured claim


 20                                                   What is the nature of the claim?                  Covid-19 EIDL                       $7,192.85
            US Small Business
            Administration                            As of the date you file, the claim is: Check all that apply
            2 International Plaza Suite 500                   Contingent
            Nashville, TN 37217                               Unliquidated
                                                              Disputed
                                                              None of the above apply




B 104 (Official Form 104)             For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 6
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 Debtor 1          Jody D Lashley                                                         Case number (if known)

                                                       Does the creditor have a lien on your property?

                                                                 No
            Contact                                              Yes. Total claim (secured and unsecured)
                                                                       Value of security:                                    -
            Contact phone                                              Unsecured claim


 Part 2:      Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.

 X     /s/ Jody D Lashley                                                     X
       Jody D Lashley                                                             Signature of Debtor 2
       Signature of Debtor 1


       Date      September 29, 2023                                               Date




B 104 (Official Form 104)              For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                   Page 7
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                                              United States Bankruptcy Court
                                                   Western District of Kentucky
 In re   Jody D Lashley                                                                        Case No.
                                                                   Debtor(s)                   Chapter     11




                                  VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



Date: September 29, 2023                               /s/ Jody D Lashley
                                                       Jody D Lashley
                                                       Signature of Debtor
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                          A to Z Tree Service
                          1779 E G Nash Rd
                          Roundhill, KY 42275

                          ABC Supply Co. Inc.
                          PO Box 415636
                          Boston, MA 02241-5636

                          All Shore Capital
                          111 John Street
                          New York, NY 10005

                          Alliance Funding Group
                          17542 17th Street, Suite 200
                          Tustin, CA 92780

                          Ally Financial
                          P.O. Box 380902
                          Minneapolis, MN 55438

                          Amazon Prime Visa
                          410 Terry Ave North
                          Seattle, WA 98109-5210

                          Amazon Services LLC
                          410 Terry Ave North
                          Seattle, WA 98109-5210

                          Arba International LLC
                          2517 152nd Ave NE
                          Redmond, WA 98052

                          Azura Leasing
                          PO Box 258
                          Caledonia, MI 49316

                          Bee Spring Lumber & Supply LLC
                          10403 Highway 259 North
                          Bee Spring, KY 42207

                          Jeff Biggs
                          2204 Woodbourne Ave.
                          Louisville, KY 40205

                          Bill Me Later, Inc
                          as serving agent for WebBank
                          2211 North First Street
                          San Jose, CA 95131

                          Dennis & Jill Broyles
                          2701 Alice Ave.
                          Louisville, KY 40220
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                      Capital Assist, LLC
                      111 Great Knock Road
                      Suite 300
                      Great Neck, NY 11021

                      Capital One
                      PO Box 4069
                      Carol Stream, IL 60197-4069

                      Capital One, N.A.
                      PO Box 30285
                      Salt Lake City, UT 84130-0285

                      Capytal.com
                      c/o NewCo. Capital Group VI LLC
                      90 Broad, Suite 903
                      New York, NY 10004

                      Cassity Brazinski, LLC
                      9858 Burleigh Lane
                      Union, KY 41091

                      CFG Merchant Solutions
                      180 Maiden Lane, Suite 1502
                      New York, NY 10038

                      Clover Capital
                      5601 Corporate Way
                      Suite 320
                      West Palm Beach, FL 33407

                      Commonwealth of Kentucky
                      Department of Revenue
                      501 High Street
                      PO Box 991
                      Frankfort, KY 40602

                      Concora Credit, Inc.
                      14600 NW Greenbriar Pkwy
                      Beaverton, OR 97006-5762

                      Brian Cook
                      123 Pergola Pl
                      Ormond Beach, FL 32174

                      COVID EIDL Service Center
                      14925 Kingsport Road
                      Fort Worth, TX 76155

                      Credit One
                      PO Box 60500
                      City of Industry, CA 91716-0500
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                      Credit One Platinum
                      PO Box 60500
                      City of Industry, CA 91716-0500

                      Stacy Croxton
                      610 Shawnee Rd
                      Shelbyville, KY 40065

                      CSC, as Representative
                      PO Box 2576
                      Springfield, IL 62708

                      Dominick Dale, Esq.
                      7002 Nansen St.
                      Forest Hills, NY 11375-5856

                      DC Fund, LLC
                      DC Fund Suite 300
                      Great Neck, NY 11021

                      Dock-Tech, LLC
                      102 Wall Street
                      Suite C
                      Cave City, KY 42127

                      Troy Doush
                      90 Trailwood Dr
                      Clarkson, KY 42726

                      Elysia Lampert
                      Foley & Lardner LLP
                      321 N. Clark St.
                      Suite 3000
                      Chicago, IL 60654

                      Everest Business Funding
                      2001 NW 107 Avenue
                      Miami, FL 33172

                      Family Business Fund
                      101 Plaza Real S, Ste 216
                      Boca Raton, FL 33432

                      Farm Bureau Bank
                      PO Box 33427
                      San Antonio, TX 78265

                      Aaron Foulks
                      395 Poplar Springs Rd
                      Brownsville, KY 42210

                      Future Designs Building Materials
                      421 Quarry Rd
                      PO Box 87
                      Leitchfield, KY 42755-0087
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                      GoodLeap
                      8781 Sierra College Blvd
                      Roseville, CA 95661

                      Darrell L Green
                      2547 Kensington Way
                      Elizabethtown, KY 42701-6830

                      Grid Market, LLC
                      dba Grid Funding
                      667 NE 105th St
                      Miami, FL 33138

                      Hart County Building Supply
                      10337 Cub Run HWY
                      Munfordville, KY 42765

                      Mike Higgins
                      4003 Serviceberry Ct.
                      Louisville, KY 40241

                      Stuart & Cynthia Holder
                      9405 Stonelanding Pl
                      Louisville, KY 40272-7200

                      Innvoative Marine Solutions, LLC
                      dba Innovative Marine Service
                      102 Wall St. Bldg A
                      Cave City, KY 42127

                      Internal Revenue Service
                      P.O. Box 7346
                      Philadelphia, PA 19101-7346

                      JCB Finance
                      655 Business Center Drive
                      Horsham, PA 19044

                      Doris Jenkins
                      102 Shady Lane
                      Louisville, KY 40225-9000

                      Dixon & Shannon Jones
                      2120 Woodbourne Ave.
                      Louisville, KY 40205

                      Billy Kaufman
                      1466 William Cemetery Road
                      Clarkson, KY 42726

                      Jeremy Kelly
                      5802 Mt Pleasant Dr
                      Prospect, KY 40059
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                      Kubota Credit Corporation, USA
                      Servicing Center
                      PO Box 2046
                      Grapevine, TX 76099

                      Bridget Kuebet
                      8907 Bergmont Dr.
                      Prospect, KY 40059

                      KY Office of Unemployment Insurance
                      Attn: Nicole Boaz
                      PO Box 188
                      Leitchfield, KY 42755

                      Jennifer Lanham
                      677 Twin Oaks Drive
                      Mammoth Cave, KY 42259

                      Liberty Federal Credit Union
                      4401 Theater Drive
                      PO Box 5129
                      Evansville, IN 47716-5129

                      Lindseys Auto Parts LLC
                      20 Caneyville Road
                      Roundhill, KY 42275

                      Lowe's
                      1000 Lowe's Boulevard
                      Mooresville, NC 28117

                      Marin Business Bank
                      2795 E. Cottonwood Pkwy
                      Salt Lake City, UT 84121

                      Marlin Leasing Corporation
                      dba PEAC Solutions
                      300 Fellowship Road
                      Mount Laurel, NJ 08054

                      MCA Resolve, LLC
                      220 Congress Park Dr., Ste 215
                      Delray Beach, FL 33445

                      MCA Servicing, LLC
                      1855 Griffin Raod
                      Dania, FL 33004

                      MicroAdvance Funding, LLC
                      100 South Juniper Street
                      Third Floor
                      Philadelphia, PA 19107
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                      NewCo. Capital Group VI LLC
                      90 Broad, Suite 903
                      New York, NY 10004

                      On Deck Capital, Inc.
                      4201 Wilson Blvd
                      Ste 110-209
                      Arlington, VA 22203

                      Pawnee Leasing Corporation
                      3801 Automation Way
                      Suite 207
                      Fort Collins, CO 80526

                      PayPal Credit
                      PO Box 71707
                      Philadelphia, PA 19176-1707

                      Rapid Finance
                      4500 East West Highway
                      6th Floor
                      Bethesda, MD 20814

                      Rent to Own Rentals LLC
                      PO Box 156
                      Morganfield, KY 42437

                      Marilyn Rhoads
                      2825 Timberline Dr
                      Owensboro, KY 42303

                      Cory Rudolph
                      1101 Meeting Street
                      Prospect, KY 40059

                      Sam's Club
                      2101 SE Simple Savings Drive
                      Bentonville, AR 72716-0745

                      ScottsRTO, LLC
                      PO Box 100
                      Melber, KY 42069

                      Servicing Corporation
                      323 5th Street
                      Eureka, CA 95501

                      David Smith
                      9613 Tamarisk Pkwy
                      Louisville, KY 40223

                      Jeremy Smith
                      1582 Pensacola Dr.
                      Lillian, AL 36549
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                      Theresa Stiles
                      720 30th St.
                      Peru, IL 61354

                      Flora Templeton Stuart
                      607 E. 10th Ave
                      Bowling Green, KY 42101

                      Sun Valley Feed Mill
                      597 S. Main Street
                      PO Box 301
                      Brownsville, KY 42210

                      Synchrony Bank
                      777 Long Ridge Rd
                      Stamford, CT 06902

                      Theresa Stiles
                      720 30th St.
                      Peru, IL 61354

                      Thomas & Thomas Attorneys
                      Attn: Ernest V. Thomas, III
                      2323 Park Ave
                      Cincinnati, OH 45206

                      Tip Top Capital Inc
                      40 Exchange Pl
                      New York, NY 10038

                      Tom Warner
                      230 Paradise Dr
                      Murray, KY 42071

                      Tractor Supply Credit Plan
                      PO Box 6403
                      Sioux Falls, SD 57117-6403

                      United Community Bank of West Kentucky
                      1406 N Main St
                      Sturgis, KY 42459

                      United Community Bank of West Kentucky
                      131 E Main St
                      Morganfield, KY 42437

                      Travis Unruh
                      4084 Paoli Pike
                      Floyds Knobs, IN 47119

                      US Small Business Administration
                      2 North Street, Suite 320
                      Birmingham, AL 35203
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                      US Small Business Administration
                      2 International Plaza Suite 500
                      Nashville, TN 37217

                      Billy Vincent
                      2762 Cedar Grove Church Rd
                      Brownsville, KY 42210
